                    IN THE SUPREME COURT OF NORTH CAROLINA

                                          2021-NCSC-157

                                            No. 275A21

                                     Filed 17 December 2021

     IN THE MATTER OF: S.J., V.J., L.J., R.J., C.J.


           Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) from an order entered on

     21 April 2021 by Judge Angelica C. McIntyre in District Court, Robeson County. This

     matter was calendared for argument in the Supreme Court on 12 November 2021 but

     determined on the record and briefs without oral argument pursuant to Rule 30(f) of

     the North Carolina Rules of Appellate Procedure.


           Sydney Batch for respondent-appellant father.

           J. Edgar Yeager, Jr. for petitioner-appellee Robeson County Department of
           Social Services.

           Carrie A. Hanger for appellee guardian ad litem.


           EARLS, Justice.

¶1         Respondent appeals from an order entered on 21 April 2021 by the District

     Court, Robeson County, terminating his parental rights in his minor children

     “Sarah,” “Victor,” “Leo,” “Ryder,” and “Colby.”1 After careful review, we affirm.

¶2         Respondent become involved with the Robeson County Department of Social

     Services (DSS) due to reports that he was violent with the children’s mother in June


           1 A pseudonym is used in this opinion to protect the juvenile’s identity and for ease of

     reading.
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     2012. In April 2014, he was arrested following a high-speed car chase. Two of

     respondent’s children were in the vehicle when he was apprehended, and respondent

     had been “drinking all day.” After conducting a hearing on 21 January 2015, the trial

     court entered an order adjudicating the children to be neglected juveniles based on

     both parents’ substance abuse issues and allegations of domestic violence. The

     children were eventually returned to their mother’s custody. After a hearing on 6

     February 2019, the children were again adjudicated to be neglected, again based on

     substance abuse issues and allegations of domestic violence involving both parents.

¶3         Respondent entered into a case plan. Initially, he made significant progress,

     and in June 2019, the children were returned to the care of respondent and their

     mother on a trial basis. However, in September, the placement was disrupted after

     DSS received a referral alleging ongoing substance abuse and domestic violence

     issues involving both parents. On 21 May 2020, DSS filed a petition to terminate both

     parents’ parental rights.

¶4         The trial court conducted a hearing on DSS’s termination petition on

     18 February 2021. Respondent was not present. At the conclusion of the hearing, the

     trial court entered an order concluding that grounds existed to terminate

     respondent’s parental rights on the grounds of neglect, N.C.G.S. § 7B-1111(a)(1),

     willful failure to make reasonable progress to correct the conditions which led to the

     juveniles’ removal, N.C.G.S. § 7B-1111(a)(2), and willful failure to pay a reasonable
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     portion of the cost of caring for the juveniles, N.C.G.S. § 7B-1111(a)(3). The court

     further concluded that it was in the best interests of all five juveniles to terminate

     respondent’s parental rights. After the order terminating parental rights was

     entered, respondent timely filed a notice of appeal.2

¶5         On appeal, counsel for respondent filed a no-merit brief on her client’s behalf

     under Rule 3.1(e) of the North Carolina Rules of Appellate Procedure. Counsel

     advised respondent of his right to file pro se written arguments on his own behalf and

     provided him with the documents necessary to do so. See N.C. R. App. P. 3.1(e).

     Respondent has not submitted written arguments to this Court.

¶6         This Court independently reviews issues identified by counsel in a no-merit

     brief filed pursuant to Appellate Rule 3.1(e). In re L.E.M., 372 N.C. 396, 402 (2019).

     In this case, respondent’s counsel represented that after thoroughly reviewing the

     record, she had determined that “there is no issue of merit on which to base an

     argument for relief and that this appeal would be frivolous.”

¶7         The termination of parental rights is a two-stage process consisting of an

     adjudicatory stage and a dispositional stage. See N.C.G.S. §§ 7B-1109, -1110 (2019).

     If, during the adjudicatory stage, the trial court finds grounds to terminate parental

     rights under N.C.G.S. § 7B-1111(a), the trial court proceeds to the dispositional stage,



           2 The trial court also terminated the parental rights of the juveniles’ mother and an

     unknown father. Neither the juveniles’ mother nor the unknown father timely filed a notice
     of appeal of the termination order, and thus they are not parties to this appeal.
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     where it is tasked with determining whether termination of parental rights is in the

     best interests of the juvenile. See, e.g., In re E.S., 378 N.C. 8, 2021-NCSC-72, ¶ 11.

     “We review a trial court’s adjudication of grounds to terminate parental rights to

     determine whether the findings are supported by clear, cogent and convincing

     evidence and the findings support the conclusions of law.” In re R.L.D., 375 N.C. 838,

     840 (2020) (cleaned up). “The trial court's assessment of a juvenile's best interests at

     the dispositional stage is reviewed solely for abuse of discretion.” In re A.U.D., 373

     N.C. 3, 6 (2019).

¶8         With regard to the trial court’s adjudicatory order, counsel for respondent

     acknowledges that competent evidence supports the trial court’s findings of fact and

     that these findings of fact support the trial court’s conclusion of law that respondent

     neglected the juveniles within the meaning of N.C.G.S. § 7B-1111(a)(1). A petitioner

     may establish that grounds exist to terminate a respondent-parent’s parental rights

     on the grounds of neglect in one of two ways. First, if the respondent-parent

     maintained custody of the juvenile until near to the time that termination

     proceedings were initiated, the petitioner must prove that the respondent-parent was

     neglecting the juvenile as that term is defined in N.C.G.S. § 7B-101(15). See In re

     R.L.D., 375 N.C. 838, n.3 (2020). Second, if the juvenile “has not been in the custody

     of the parent for a significant period of time prior to the termination hearing,” the

     petitioner must “make[ ] a showing of past neglect and a likelihood of future neglect
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       by the parent.” In re N.D.A., 373 N.C. 71, 80 (2019) (cleaned up).

¶9           Here, the trial court order established that all five juveniles had previously

       been adjudicated to be neglected juveniles. In the years following this adjudication,

       respondent was again arrested for driving while intoxicated with his children in the

       vehicle. In 2018 alone, he was charged with driving while intoxicated on four

       occasions. Respondent was provided the opportunity to care for his children during a

       “trial home placement” by order of the trial court on 27 June 2019. However, on

       11 September 2019 DSS received a referral alleging ongoing substance abuse and

       domestic violence issues involving both parents. Respondent admitted to DSS that he

       was still smoking marijuana. He subsequently tested positive for marijuana and

       gabapentin, an anticonvulsant prescription medication. This evidence supports the

       trial court’s finding that there existed “a high likelihood that the neglect would

       continue” if the children were returned to respondent’s care. The trial court’s findings

       regarding past neglect and the likelihood of future neglect are sufficient to support

       its conclusion that grounds existed to terminate respondent’s parental rights on the

       basis of neglect.

¶ 10         “Because only one ground is needed to support termination,” In re A.L., 378

       N.C. 396, 2021-NCSC-92, ¶ 15, we turn to our review of the trial court’s dispositional

       findings and conclusions. At the dispositional stage of a termination proceeding, the

       trial court is tasked with deciding “whether terminating the parent’s rights is in the
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       juvenile's best interest.” N.C.G.S. § 7B-1110. Subsection 7B-1110 further provides

       that the trial court

                    shall consider the following criteria and make written
                    findings regarding the following that are relevant:

                         (1) The age of the juvenile.

                         (2) The likelihood of adoption of the juvenile.

                         (3) Whether the termination of parental rights will aid
                         in the accomplishment of the permanent plan for the
                         juvenile.

                         (4) The bond between the juvenile and the parent.

                         (5) The quality of the relationship between the juvenile
                         and the proposed adoptive parent, guardian, custodian,
                         or other permanent placement.

                         (6) Any relevant consideration.

       Id.

¶ 11         With regard to the trial court’s dispositional order, counsel for respondent

       acknowledges that the trial court addressed the criteria set forth in N.C.G.S. § 7B-

       1110 and that, based on the trial court’s factual findings which are supported by

       evidence in the record, the trial court did not abuse its discretion in concluding that

       it was in the juveniles’ best interests to terminate respondent’s parental rights. Here,

       the trial court found that all five children were residing in appropriate placements

       where they were bonded to their caretakers, that the likelihood the children would be

       adopted was “extremely high,” that there was “no bond” between the children and
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       respondent, and that termination of respondent’s parental rights would “help achieve

       the permanent plan [of adoption] for the minor children.” As counsel for respondent

       acknowledges, these findings are supported by the record and address the criteria

       provided under N.C.G.S. § 7B-1110. Accordingly, we conclude that “the trial court's

       decision on this matter was not so manifestly unsupported by reason as to constitute

       an abuse of discretion.” In re E.S., 378 N.C. 8, 2021-NCSC-72, ¶ 24.

¶ 12         Having considered the entire record and the issues identified in the no-merit

       brief, we affirm the trial court’s order terminating respondent’s parental rights.

             AFFIRMED.
